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                                            Certificate Number: 18567-TXE-DE-038460455
                                            Bankruptcy Case Number: 17-40267


                                                           18567-TXE-DE-038460455




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on May 8, 2024, at 7:43 o'clock PM CDT, Elihu Gillespie
completed a course on personal financial management given by internet by Carey
D. Ebert, Standing Chapter 13 Trustee, a provider approved pursuant to 11 U.S.C.
 111 to provide an instructional course concerning personal financial management
in the Eastern District of Texas.




Date:   May 9, 2024                         By:      /s/Amy Tate-Almy


                                            Name: Amy Tate-Almy


                                            Title:   Financial Counselor, Trustees' Education Network
